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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 PULSEDATA, INC.,
                                                     Case No. 1:23-cv-03653 (JMF)
                                Plaintiff,
            v.                                       [PROPOSED] ORDER GRANTING
                                                     MOTION TO ADMIT COUNSEL
JUNG HOON SON,                                       PRO HAC VICE

                                Defendant.


       The motion of Steven J. Pacini, for admission to practice Pro Hac Vice in the above

captioned action is granted.

       Applicant has declared that he is a member in good standing of the Bar of the State of

Massachusetts; and that his contact information is as follows:

       Applicant’s Name: Steven J. Pacini
       Firm Name: Latham & Watkins LLP
       Address: 200 Clarendon Street
       City/State/Zip: Boston, MA 02116
       Telephone: (617) 948-6000
       Fax: (617) 948-6001

       Applicant having requested admission pro hac vice to appear for all purposes as counsel

for Plaintiff pulseData, Inc., in the above-captioned matter;

       IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above-captioned matter in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




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Dated:                    , 2023




                                       ________________________________________
                                       United States District Judge Jesse M. Furman




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